Case 16-13735-JKS      Doc 35    Filed 11/30/18 Entered 11/30/18 16:24:18              Desc Main
                                 Document     Page 1 of 3



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)                     Order Filed on November 30,
                                                                    2018 by Clerk U.S. Bankruptcy
                                                                     Court District of New Jersey
 Jonathan Schwalb, Esq.
 Friedman Vartolo LLP
 85 Broad Street, Suite 501
 New York, New York 10004
 Attorneys for SN Servicing Corporation as servicer
 for U.S. Bank N.A., as Trustee of the SCIG Series III
 Trust
 P: (212) 471-5100
 Bankruptcy@FriedmanVartolo.com                            Case No. 16-13735
 _____________________________________________
 IN RE:                                                    Hearing Date:

                                                           Judge: JOHN K. SHERWOOD
 Peter Annicchiarico
                                                           Chapter: 13
 Debtor(s)



                CONSENT ORDER RESOLVING MOTION FOR RELIEF

    The relief set forth on the following page numbered two (2) through three (3) is hereby
ORDERED.




 DATED: November 30,
 2018
Case 16-13735-JKS          Doc 35     Filed 11/30/18 Entered 11/30/18 16:24:18            Desc Main
                                      Document     Page 2 of 3



   Applicant:                                  SN Servicing Corporation
   Applicant’s Counsel:                        Friedman Vartolo LLP
   Debtor’s Counsel:                           Bruce Levitt, Esq.
   Property Involved(“Collateral”):            36 Clinton Street, Bloomfield, NJ 07003

    Relief sought:
         9 Motion for relief from the automatic stay
             Motion to Dismiss
             Motion for prospective relief to prevent imposition of automatic stay against the
collateral by debtor’s future bankruptcy filings

        For good cause shown, it is ORDERED that Applicant’s Motion(s) is (are) resolved,
subject to the following conditions:

   1. Status of post-petition arrearages:

       x   The Debtor is overdue for 7 months, from April 1, 2018 to October 1, 2018.
       x   The Debtor is overdue for 7 payments at $2,605.31 per month.
       x   Less Funds held in debtor(s) suspense ($1,574.00).

       Total Arrearages Due $16,663.17

   2. Debtor must cure all post-petition arrearages, as follows:

       x   Beginning on November 1, 2018, regular monthly mortgage payments shall continue
           to be made in the amount of $2,603.15.
       x   Beginning on November 1, 2018, Debtor must also make an additional monthly
           payment in the amount of $2,777.20 for a period of six (6) months to cure the
           arrearages listed above.


In the event of Default:

       If the Debtors fail to make the immediate payment specified above or fail to make regular
monthly payments or the additional monthly cure payment within thirty (30) days of the date the
payments are due, then the Secured Creditor may obtain an Order Vacating the Automatic Stay as
to the Collateral by filing, with the Bankruptcy Court, Certification specifying the Debtors’
failure to comply with this Order. At the time the Certification is filed with the court, a copy of
the Certification shall be sent to the Chapter 13 Trustee, the Debtors, and the Debtors’ Attorney.
Case 16-13735-JKS       Doc 35     Filed 11/30/18 Entered 11/30/18 16:24:18              Desc Main
                                   Document     Page 3 of 3




       If the bankruptcy case is dismissed, or if the automatic stay is vacated, the filing of a new
bankruptcy case will not act to impose the automatic stay against the Secured Creditor’s
opportunity to proceed against its Collateral without further Order from the Court.

   3. Award of Attorney’s Fees:

        9 The Applicant is awarded attorney’s fees of $350.00, and costs of $181.00.
The fees and costs are payable through the Chapter 13 plan.
